                   Case 23-11069-CTG          Doc 659       Filed 09/26/23       Page 1 of 9




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                 )                  Chapter 11
                                           )
    YELLOW CORPORATION, et al.1            )                  Case No. 23-11069 (CTG)
                                           )
    Debtors.                               )                  (Jointly Administered)
                                           )
                                           )                  Hearing Date: October 23, 2023 at 10:00 a.m. EST
    ______________________________________ )                  Objection Deadline: October 11, 2023 at 5:00 p.m. EST


MOTION OF LAWRENCE NOWICKI, FOR RELIEF FROM THE AUTOMATIC STAY
       PURSUANT TO 11 U.S.C. § 362(d) OF THE BANKRUPTCY CODE


             Lawrence Nowicki, (“Movant”), by and through his undersigned counsel, hereby move this

court (the “Motion”) pursuant to Section 362(d) of Title 11 of the United States Code, 11 U.S.C.

§§ 101-1532 (the “Bankruptcy Code”), Federal Rule of Bankruptcy Procedure 4001, and Local

Rule 4001-1 of the Local Rules for the United States Bankruptcy Court for the District of Delaware

(the “Local Rules”), for entry of an Order granting relief from the automatic stay imposed by

Section 362(a) of the Bankruptcy Code in order to permit Movant to prosecute a personal injury

action pending in the United States District Court for the Western District of New York against

debtor YRC Worldwide Inc. a/k/a YRC Freight (together with the above-captioned co-debtors, the

“Debtors”) and to proceed to collection any award against the Debtors’ and/or the Debtors’

applicable insurance policies. In support of this Motion, Movant respectfully states as follows:




1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal
place of business and the Debtors’ service address in these chapter 11 cases is: 10990 Roe Avenue, Overland Park,
Kansas 66211.
               Case 23-11069-CTG        Doc 659     Filed 09/26/23     Page 2 of 9




                                JURISDICTION AND VENUE

          1.   This Court has jurisdiction of this Motion pursuant to 28 U.S.C. §§ 157 and 1334.

Venue in this judicial district is proper under 28 U.S.C. §1408 and 1409.

          2.   This is a core proceeding within the meaning of 28 U.S.C. § 157(b).

          3.   The statutory predicate for the relief requested herein is 11 U.S.C. § 362(d)(1) and

§ 365(d)(2), Bankruptcy Rule 4001, and Local Bankruptcy Rule 4001-1.

                                             FACTS

          4.   On August 8, 2023 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under Chapter 11 of the Bankruptcy Code with the United States Bankruptcy

Court for the District of Delaware (the “Court”). The Debtors’ have requested join administration

of their bankruptcy cases.

          5.   Prior to the Petition Date, on or about July 7, 2017, Movant was seriously and

permanently injured as a result of unloading a pallet of screen doors that were packed, shipped,

palletized, and or delivered to his employer, Home Depot by Debtors, and/or its employees or

agents.

          6.   As a result of the injuries sustained by Movant and the Debtors’ negligence, on

October 5, 2018, the Movant commenced a civil action in the Supreme Court of the State of New

York For the County of Erie against debtor YRC Worldwide Inc. a/k/a YRC Freight and non-

debtor co-defendants (the “State Court Action”). The State Court Action was thereafter removed

to the United States District Court for the Western District of New York at Docket No.: 1:19-CV-

00124, and Movant filed an Amended Complaint on or about May 2, 2019. This Amended

Complaint is attached hereto as Exhibit A.

          7.   The Movant’s claims in the State Court Action have been delayed as a consequence
              Case 23-11069-CTG          Doc 659     Filed 09/26/23      Page 3 of 9




of the Debtors’ chapter 11 filings and the automatic stay provisions set forth in 11 U.S.C. §362(a).

       8.      Upon information and belief, the Debtors are covered by insurance policies

applicable to Movant’s claims in the event Movant is successful in the State Court Action.

                                     RELIEF REQUESTED

       9.      Through this Motion, Movant seeks the entry of an Order pursuant to §362(d) of

the Bankruptcy Code and 4001 of the Federal Rules of Bankruptcy Procedure, granting relief from

the automatic stay so that he may file and prosecute his claims to judgment in the State Court

Action and satisfy any award or other resolution he may obtain against the Debtors, the Debtors’

applicable insurance policies any other responsible individual or entity.

                              BASIS FOR RELIEF REQUESTED

       10.     Movant is entitled to relief from the automatic stay pursuant to 11 U.S.C.

 § 362(d)(1). Section 362(d) of the Bankruptcy Code provides in relevant part:

              On request of a party in interest and after notice and a hearing, the
              Court shall grant relief from the stay provided under subsection (a)
              of this section, such as by terminating, annulling, modifying, or
              conditioning such stay… (1) for cause, including the lack of
              adequate protection of an interesting property for such party interest.

11 U.S.C. § 362(d).
       13.    “Cause” is not defined in the Bankruptcy Code, it must be determined on a case-

by-case basis. Int’l Bus. Machines v. Fernstrom Storage and Van Co., 938 F.2d 731, 735 (7th

Cir. 1991). Courts have found that cause for lifting or modifying the automatic stay exists in

order to permit litigation in another forum to liquidate a claim. See, e.g., In re Rexene Products

Co., 141 B.R. 574, 576 (Bankr. D. Del. 1992) (noting that the legislative history of § 362(d) shows

that cause may be established by a single factor such as “a desire to permit an action to proceed

… in another tribunal.”); In re Drexel Burnham Lambert Group, Inc., 113 B.R. 830, 838 n.8

(Bankr. S.D.N.Y. 1990) (citing liquidation of a claim as “cause” for relief); In re Holtkamp, 669
                 Case 23-11069-CTG         Doc 659      Filed 09/26/23     Page 4 of 9




F.2d 505 (7th Cir. 1982) (affirming the lifting of the automatic stay by the Bankruptcy Court to

allow a personal injury suit against debtor to proceed to judgment).

         14.     At a hearing for relief from automatic stay under Section 362(d), the party opposing

stay relief bears the burden of proof on all issues with the exception of the debtors’ equity in

property. See In re Domestic Fuel Corp., 70 B.R. 455, 462-463 (Bankr. S.D.N.Y. 1987); 11 U.S.C.

§362(g). If a creditor seeking relief from the automatic say makes a prima facie case of “cause”

for lifting the stay, the burden going forward shifts to the trustee pursuant to Bankruptcy Code

Section 362(g). See In re 234-6 West 22nd Street Corp., 214 B.R. 751, 756 (Bankr. S.D.N.Y.

1997).

         15.     Courts often follow the logic of the intent behind §362(d) which is that it is often

appropriate to allow litigation to proceed in a non-bankruptcy forum, if there is no prejudice to the

estate, “in order to leave the parties to their chosen forum and to relieve the bankruptcy court from

duties that may be handled elsewhere.” In re Tribune Co., 418 B.R. 116, 126 (Bankr. D. Del. 2009)

(quoting legislative history of §362(d)) (internal citations omitted).

         16.     Courts in this District rely upon a three-pronged balancing test in determining

whether “cause” exists for granting relief from the automatic stay to continue litigation:

           (1)     Whether prejudice to either the bankrupt estate or the debtor
                   will result from continuation of the civil suit;

           (2)     Whether the hardship to the non-bankrupt party by maintenance
                   of the stay outweighs the debtor’s hardship; and

           (3)     The creditor’s probability of success on the merits.

See In re Tribune Co., 418 B.R. at 126.

         17.      Here, the facts weigh heavily in Movant’s favor on each of these three prongs. First,

the Debtors will not suffer prejudice should the stay be lifted because Movant’s claims must
               Case 23-11069-CTG          Doc 659         Filed 09/26/23   Page 5 of 9




eventually be liquidated before they can recover from the bankruptcy estate and/or any applicable

insurance coverage maintained by the Debtors.              Movant’s claim against this Debtor is a

negligence/and personal injury claim which does not present any factual or legal issues that will

impact or distract the Debtors from their reorganization or liquidation process. Indeed, because

Movant’s claims involve personal injury, they must be liquidated in a forum outside the

Bankruptcy Court. 11 U.S.C. §157(b)(5) (“personal injury tort…claims shall be tried in the

district court in which the bankruptcy case is pending, or in the district court in the district in

which the claims arose…”). Furthermore, Movant has demanded a jury trial in the State Court

Action and a jury trial is not available in this Court.

        18.         Upon information and belief, the Debtors’ liability in this matter is covered

by insurance. As such, any recovery by Movant will not affect the Debtors’ estates, or to the extent

the Debtors’ applicable insurance policies contain any self-insured retention, any direct recovery

against the Debtors by Movant would result in a prepetition claim, treated as any other prepetition

claim in the Debtors’ cases. Any liability over and above any self-insured retention would be

borne by the Debtors’ insurers. See In re 15375 Memorial Corp., 382 B.R. 652, 687 (Bankr. D.

Del. 2008), rev’d on other grounds, 400 B.R. 420 (D. Del. 2009) (“when a payment by an insurer

cannot inure to the debtor’s pecuniary interest, then that payment should neither enhance nor

decrease the bankruptcy estate” (quoting In re Edgeworth, 993 F.2d 51, 55-56 (5th Cir. 1993)); see

also In re Allied Digital Tech Corp., 306 B.R. 505, 510 (Bankr. D. Del 2004) (ownership by a

bankruptcy estate is not necessarily determinative of the ownership of the proceeds of that policy.

“[W]hen the debtor has no legally cognizable claim to the insurance proceeds, those proceeds are

not property of the estate.” In re Edgeworth, 993 F.2d 51, 55-56 (5th Cir. 1993).

        19.        Movant agrees that he is not seeking immediate recovery against the Debtors’
              Case 23-11069-CTG          Doc 659     Filed 09/26/23     Page 6 of 9




or the Debtors’ estate for any amount owed to them that is not covered by Debtors’ primary, excess

or umbrella insurance as a result of any settlement or judgment of the claims against the Debtors in

the State Court Action. Upon information and belief, any settlement or judgment in the State Court

action that results in liability of the Debtors not covered by applicable insurance would be limited

in the amount of any self-insured retention, which would result in a allowed general unsecured

claim against the Debtors estates, would be treated as any other allowed general unsecured claim

in the Debtors’ bankruptcy cases and as prescribed in any order confirming the Debtors’ plan of

reorganization or liquidation. Any liability over and above any self-insured retention would be

borne by the Debtors’ insurers. As such, relief would not prejudice the Debtors and would permit

the immediate enforcement of any judgment against the Debtors’ applicable insurance.

       20.        Second, Movant will face substantial hardship if the stay is not lifted. Movant’s

injuries were caused as a result of the Debtors’ negligence and Movant will be prejudiced by the

continued delay resulting from the automatic stay due to the possibility of witnesses moving to

unknown locations or who may pass away and the memory of events becoming less clear. Any

delay in permitting Movant to prosecute the State Court Action increases the likelihood that these

witnesses will not be located.

       21.       Movant resides in the State of New York and the events which form the basis of

their claims occurred exclusively in New York. If Movant is forced to litigate his claims in

Delaware, he would incur the increased expense of bringing attorneys, witnesses, and physical

evidence to Delaware. “[O]ne of the primary purposes in granting relief from the say to permit claim

liquidation is to conserve judicial resources.” In re Peterson, 116 B.R. 247, 250 (D. Colo. 1990).

Judicial economy would be served by lifting the automatic stay and allowing Movant’s claims to

be liquidated in the forum where they are presently postured to be filed and adjudicated quickly.
               Case 23-11069-CTG          Doc 659      Filed 09/26/23    Page 7 of 9




In addition, Movant is entitled to a jury trial for their claims and damages and a jury trial is not

available in this Court. A jury trial in the United States District Court for the Western District of

New York is best suited to try all issues raised in the State Court Action. Accordingly, as the court

in Rexene suggests, “[i]t will be often be more appropriate to permit proceedings to continue in

their place of origin ….” In re Rexene, 141 B.R. at 576.

        22.      Lastly, the likelihood of success on the merits prong is satisfied by “even a slight

probability of success on the merits may be sufficient to support lifting an automatic stay.” In re

Continental Airlines, Inc., 152 B.R. 420, 426 (D. Del. 1993). This prong also weighs in Movant’

favor. The facts regarding the Debtors’ serious negligence set forth in the attached Amended

Complaint speak for themselves. No defenses, much less strong defenses, appear to exist here.

“Only strong defenses to state court proceedings can prevent a bankruptcy court from granting

relief from the stay in cases where…the decision- making process should be relegated to bodies

other than [the bankruptcy] court.” In re Fonseca v. Philadelphia Housing Authority, 110 B.R.

191, 196 (Bankr. E.D. Pa. 1990).

        23.      When weighing the above factors, the Court should lift the automatic stay to permit

Movant to prosecute his claims against the Debtors and any other responsible individual or entity

to judgment in the State Court Action and satisfy any award or other resolution he may obtain

against the Debtors from the Debtors’ applicable insurance policies and any other individuals or

entities that are responsible for the injuries sustained.

                                              NOTICE

        24.     Pursuant to Local Rule 4001-(a), notice of this Motion has been provided to: (i)

counsel for the Debtors; (ii) counsel for the Official Committee of Unsecured Creditors; (iii)

counsel for the debtor-in-possession financing lenders; (iv) the Office of the United States
             Case 23-11069-CTG         Doc 659     Filed 09/26/23     Page 8 of 9




Trustee; and the Chapter 7 Trustee. The Movant submits that no other or further notice need be

provided.

       WHEREFORE, Movant respectfully request then entry of an order: (a) lifting the

automatic stay for cause to allow the State Court Action to continue through to judgment or

other resolution; (b) permitting Movant to liquidate and satisfy such judgment or other

resolution granted, if any, from applicable insurance coverage available to the Debtors, to

the extent insurance is available; (c) directed that relief from the automatic stay be effective

immediately upon entry of an order granting this motion and that the 14 day stay provided in

Bankruptcy Rule 4001(a)(3) not apply; and (d) granting such other and further relief as the

Court deems appropriate.

                                            REGER RIZZO & DARNALL LLP
                                            /s/ Louis J. Rizzo, Jr., Esquire
                                            Louis J. Rizzo, Jr., Esquire (#3374)
                                            Brandywine Plaza West
                                            1521 Concord Pike, Suite 305
                                            Wilmington, DE 19803
                                            (302) 477-7100
                                            Attorney for Movant, Lawrence Nowicki
Dated: September 26, 2023
                Case 23-11069-CTG              Doc 659       Filed 09/26/23         Page 9 of 9



                                         CERTIFICATE OF SERVICE
        The undersigned attorney hereby certifies on this 26th day of September, 2023, that a true and correct copy
of the Motion for Relief from the Automatic Stay Pursuant to Section 362(d) of the Bankruptcy Code was caused to
be served upon all parties required to receive notice pursuant to De. Bankr. LR 4001-1 via this Court’s ECF filing
system and/or by United States Mail, postage prepaid, upon the following parties:

 Michael Esser, Esquire                                    Whitney C. Fogelberg, Esquire
 Kirkland & Ellis LLP                                      Richard U.S. Howell, Esquire
 555 California Street                                     Casey McGushin, Esquire
 27th Floor                                                Conor P. McNamara, Esquire
 San Francisco, CA 94104                                   Patrick J. Nash, Esquire
                                                           David Seligman, Esquire
                                                           Kirkland & Ellis LLP
                                                           300 North LaSalle
                                                           Chicago, IL 60654

 Laura Davis Jones, Esquire                                Jame M. Leamy, Esquire
 Peter J. Keane, Esquire                                   Richard L. Schepacarter, Esquire
 Pachulski Stang Ziehl & Jones LLP                         Office of the United States Trustee
 919 North Market Street, 17th Floor                       844 King Street, Suite 2207
 Wilmington, DE 19801                                      Wilmington, DE 19801

 Kevin M. Capuzzi, Esquire                                 Philip C. Dublin, Esquire
 John C. Gentile, Esquire                                  Meredith A. Lahaie, Esquire
 Jennifer R. Hoover, Esquire                               Abid Qureshi, Esquire
 Benesch Friedlander Coplan & Aronoff LLP                  Joseph L. Sorkin, Esquire
 1313 North Market Street                                  Kevin Zuzolo, Esquire
 Suite 1201                                                Akin Gump Strauss Hauer & Feld LLP
 Wilmington, DE 19801-1611                                 One Bryant Park
                                                           Bank of America Tower
                                                           New York, NY 10036

 Epiq Corporate Restructuring, LLC
 www.epiqsystems.com
 777 Third Avenue, 12th Floor
 New York, NY 10017



                                                     REGER RIZZO & DARNALL LLP

                                                     /s/ Louis J. Rizzo, Jr., Esquire
                                                     Louis J. Rizzo, Jr., Esquire (#3374)
                                                     Brandywine Plaza West
                                                     1521 Concord Pike, Suite 305
                                                     Wilmington, DE 19803
                                                     (302) 477-7100
                                                     Attorney for Movant, Lawrence Nowicki
Dated: September 26, 2023
